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                    BEFORE THE UNITED STATES JUDICIAL
                    PANEL ON MULTIDISTRICT LITIGATION

IN RE: VALSARTAN N-
NITROSODIMETHYLAMINE                                   MDL Docket No. 2875
(NDMA) PRODUCTS LIABILITY LITIGATION


                          NOTICE OF RELATED ACTIONS

       Pursuant to Rule 6.2(d) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Plaintiff Ranjit Sen hereby notifies the Clerk of the

Panel of the related action listed on the attached Schedule of Actions. A copy of the

complaint is also attached. Plaintiff Ranjit Sen’s complaint involves common factual

questions with those actions presently pending transfer to the District of New Jersey on

Plaintiff Robert Kruk’s Motion to Transfer Actions [D.E. 1].



Dated: January 29, 2019                       Respectfully submitted,


                                              /s/ Chris T. Hellums
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